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Honorable Judge Leda D. Wettre
United States District Court for the District of New Jersey
50 Walnut Street 5D
Newark, NJ 07101
                                                              October 7, 2019

Re: Express Freight v. YMB Enterprises Inc. et al, Case No: 2:19-cv-12001-SDW-LDW

Honorable Judge Wettre:

       This firm represents Defendants, YMB Enterprises Inc. and Joel Mendlovic
(“Defendants”).

       By electronic Order, Your Honor scheduled oral argument regarding Defendants’ pre-
answer motion to dismiss for October 21, 2019 at 2:00 p.m., which is the Jewish holiday of
Shemini Atzeret1 when our office is closed for religious observance.

        Wherefore, Defendants request that the Court set a different date on any afternoon for
oral argument.

        We confedered with counsel for Plaintiff who indicated that “Plaintiff only consents to a
short adjournment.”

                                                              Respectfully submitted,

                                                              / s / Lawrence Katz

                                                              Lawrence Katz

Cc: All counsel of record via ECF




1
 Our office will also be closed for upcoming Jewish Holiday of Simchat Torah on October 21-
22, 2019.
